Case 1:22-cv-00838-RJJ-PJG   ECF No. 86-34, PageID.2146   Filed 04/10/25   Page 1


                    EXHIBIT 33
                                      of 6
Case 1:22-cv-00838-RJJ-PJG              ECF No. 86-34, PageID.2147            Filed 04/10/25   Page 2
                                                 of 6

  From:           O"Brien, Marcia (MDE)
  To:             Collier, Kristina (MDE)
  Subject:        RE: Complaint CAP question
  Date:           Thursday, November 5, 2020 10:07:06 AM
  Attachments:    image002.png
                  image004.png
                  image005.png
                  image006.png
                  image007.png
                  image003.png


  Oh my gosh. I thoroughly read this when she sent it also. Losing my mind.

  Sincerely,

  Marcia O’Brien , Ed.S.
  State Complaint Coordinator
  Office of Special Education
  608 West Allegan Street
  Lansing, MI 48909
  (517) 241-7507
  OBrienM6@michigan.gov




  From: Collier, Kristina (MDE) <CollierK1@michigan.gov>
  Sent: Thursday, November 5, 2020 10:06 AM
  To: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>
  Subject: FW: Complaint CAP question

  Rebecca’s response

  Kristina Collier
  Coach and Training Coordinator
  Michigan Department of Education
  Office of Special Education
  P: 517-335-0442
  F: 517-241-7141
  E: CollierK1@michigan.gov
  A: 608 West Allegan Street, Lansing, MI 48933




                                                                                         MDE_00005617
Case 1:22-cv-00838-RJJ-PJG             ECF No. 86-34, PageID.2148              Filed 04/10/25       Page 3
                                                of 6




  From: McIntyre, Rebecca (MDE) <McIntyreR1@michigan.gov>
  Sent: Tuesday, November 3, 2020 1:30 PM
  To: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>; Collier, Kristina (MDE)
  <CollierK1@michigan.gov>
  Subject: RE: Complaint CAP question

  I would say with a complaint CAP, the aspect of child find which must be verified will depend on the
  the final decision. What were the issues specifically that resulted in identified noncompliance? If we
  determined an evaluation was not comprehensive then when doing a file review the ISD would need
  to look in the file and determine whether the evaluations for the 8 students were comprehensive. If
  the comlaint identified they didn’t use a variety of tools, or they did have a basis of knowledge then
  that is what would be verified.

  This is very specific to us and again we understand our work best and so think we need to take this
  back. I emailed Jessica with my proposal and asked to talk with her about it this week.

  Rebecca McIntyre, Supervisor
  Office of Special Education
  Michigan Department of Education
  517-290-6430




  From: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>
  Sent: Thursday, October 29, 2020 11:28 AM
  To: Collier, Kristina (MDE) <CollierK1@michigan.gov>; McIntyre, Rebecca (MDE)
  <McIntyreR1@michigan.gov>
  Subject: RE: Complaint CAP question

  Sorry I’m pulling you in to yet another thing, Rebecca, but the question below is from Lynn Delpy and
  two of the complaints she is referring to (19-0188 and 19-0189) are Kalamazoo Public CAP close out
  questions. For 19-0188, the District submitted on 9/28 and then again on 10/13 – it was due from
  the District 9/1. The ISD (Tori Wentela) submitted for closeout on 10/27/20 – it was really due from
  the ISD 10/1, but of course they didn’t have it yet from the district. This is an example of issues with


                                                                                              MDE_00005618
Case 1:22-cv-00838-RJJ-PJG            ECF No. 86-34, PageID.2149             Filed 04/10/25      Page 4
                                               of 6

  the timeline. Our final decision went out November 8, 2019, but the CAP was not created until
  12/11/19, which makes me think our CAP team (Lynn Delpy) would not consider requesting an UNC
  until 13 months after the final decision was issued.

  What’s more is these are George White complaints. As we have SO much history of issues with
  Kalamazoo, I would say we need to expect more, not less of the district, when reviewing child find
  documents. So when she asks the following, my gut would be to say if the evaluation was not
  comprehensive – we would not accept it as a verification that child find obligations were met.
         The ISDs are wondering if when closing out are they looking for documentation that Child
         Find obligations mean the district followed the child find procedures correctly whether or
         not they found the student eligible or does in include that during the evaluation did the
         district complete the evaluations correctly in order to find the student eligible? There is
         concern that a district did evaluate but did not do a comprehensive evaluation thus not
         finding the student eligible when it appears student should have been.

  Ugh. Not sure what the issue is specifically with 19-0203, which was against West MI Academy of
  Environmental Science.

  Sincerely,

  Marcia O’Brien , Ed.S.
  State Complaint Coordinator
  Office of Special Education
  608 West Allegan Street
  Lansing, MI 48909
  (517) 241-7507
  OBrienM6@michigan.gov




  From: Collier, Kristina (MDE) <CollierK1@michigan.gov>
  Sent: Wednesday, October 28, 2020 2:52 PM
  To: O'Brien, Marcia (MDE) <OBrienM6@michigan.gov>
  Subject: FW: Complaint CAP question




  Kristina Collier
  Coach and Training Coordinator
  Michigan Department of Education
  Office of Special Education
  P: 517-335-0442
  F: 517-241-7141


                                                                                           MDE_00005619
Case 1:22-cv-00838-RJJ-PJG             ECF No. 86-34, PageID.2150               Filed 04/10/25        Page 5
                                                of 6

  E: CollierK1@michigan.gov
  A: 608 West Allegan Street, Lansing, MI 48933




  From: Delpy, Lynn (MDE-Contractor) <DelpyL@michigan.gov>
  Sent: Wednesday, October 28, 2020 1:58 PM
  To: Collier, Kristina (MDE) <CollierK1@michigan.gov>
  Subject: Complaint CAP question

  Hello Kristina,
  There is a question I have been asked about the child find CAPs. The ISDs are wondering if when
  closing out are they looking for documentation that Child Find obligations mean the district
  followed the child find procedures correctly whether or not they found the student eligible or does
  in include that during the evaluation did the district complete the evaluations correctly in order to
  find the student eligible? There is concern that a district did evaluate but did not do a
  comprehensive evaluation thus not finding the student eligible when it appears student should have
  been.

  FYI it is with Two different ISD/Districts similar CAPs 19-0188 & 19-0189 and 19-0203
  I just want to give them advice on what they should be looking for when reviewing student files since
  they are asking.
      (The District fulfills its ongoing child find obligation to identify, locate and evaluate students who
  are suspected of having a disability and in need of special education.) (Affording the Student the
  procedural safeguards contained in the IDEA's discipline provisions for students not determined
  eligible for special education.) ( Not suspecting the Student might be a student with a disability and
  in need of special education.)

  Thank you,
  Lynn Delpy
  Statewide Monitor
  Michigan Department of Education
  Office of Special Education
  Performance Reporting Unit
  Cell: 810-338-2483
  delpyl@michigan.gov




                                                                                                MDE_00005620
Case 1:22-cv-00838-RJJ-PJG               ECF No. 86-34, PageID.2151                 Filed 04/10/25         Page 6
                                                  of 6




  CONFIDENTIALITY NOTICE: This message, including any attachments, is intended solely for the use of the
  named recipient(s) and may contain confidential and/or privileged information. Any unauthorized review,
  use, disclosure or distribution of this communication(s) is expressly prohibited. If you are not the intended
  recipient, please contact the sender by reply e-mail and destroy any and all copies of the original message.




                                                                                                    MDE_00005621
